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                                                                                                  United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                          November 12, 2024
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


In re:                                                               Chapter 11

WELLPATH HOLDINGS, INC., et al.,1                                    Case No. 24-90533 (ARP)

                                                                     (Joint Administration Requested)
                                       Debtors.
                                                                     Re Docket No.: 17

          AMENDED INTERIM ORDER ENFORCING THE AUTOMATIC STAY

         Upon the emergency motion (the “Motion”)2 of the above-captioned debtors and debtors

in possession (collectively, the “Debtors”) for entry of interim and final orders, pursuant to section

362(a) of the Bankruptcy Code, enforcing the Automatic Stay in the Lawsuits3 or in the alternative

extending the application of the Automatic Stay to the Non-Debtor Defendants until

consummation of a chapter 11 plan in these chapter 11 cases, as more fully described in the Motion;

and the Court having jurisdiction to consider the Motion and the relief requested therein pursuant

to 28 U.S.C. § 1334 and the Order of Reference to Bankruptcy Judges, General Order 2012-6 (S.D.

Tex. May 24, 2012) (Hinojosa, C.J.); and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157; and the Court having found that it may enter a final order consistent

with Article III of the United States Constitution; and the Court having found that venue of the

Chapter 11 Cases and related proceedings being proper in this district pursuant to 28 U.S.C. §§

1408 and 1409; and given that notice of the Motion having been provided to the Notice Parties,



1
    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
    and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these chapter 11 cases
    is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
3
    For the purposes of this Interim Order, “Lawsuits” shall mean any lawsuits filed as of the Petition Date in which
    a Debtor is named as one of the defendants therein.
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and this Interim Order being served on the Notice Parties in accordance with paragraph 1 hereof,

notice shall be deemed adequate and appropriate under the circumstances, and it appearing that no

other or further notice need be provided; and the Court having reviewed and considered the

Motion; and the Court having held a hearing to consider the relief requested in the Motion (the

“Hearing”); and the Court having determined that the legal and factual bases set forth in the

Motion, and at the Hearing establish just cause for the relief granted herein; and this Court having

determined that the relief requested in the Motion is necessary to avoid immediate and irreparable

harm to the Debtors and their estates as contemplated by Bankruptcy Rule 6003; and all objections

and reservations of rights filed or asserted in respect of the Motion, if any, having been withdrawn,

resolved, or overruled, in each case, with prejudice; and upon all of the proceedings had before

the Court; and after due deliberation and sufficient cause appearing therefor, it is hereby

       ORDERED, ADJUDGED, AND DECREED THAT

       1.      The final hearing (the “Final Hearing”) on the Motion shall be held on December 5,

2024, at 3:00 p.m. (prevailing Central Time). Any objections or responses to entry of a Final

Order on the Motion shall be filed and served on the Notice Parties and counsel to any statutory

committees appointed in these chapter 11 cases so as to be actually received on or before 4:00 p.m.

(prevailing Central Time) on December 2, 2024. The Debtors shall serve a copy of this Interim

Order on the Notice Parties within five business days of the date hereof. In the event that no

objections to the entry of the Final Order on the Motion are timely received, this Court may enter

such Final Order without the need for the Final Hearing.

       2.      The Lawsuits are stayed in their entirety, including the plaintiffs’ claims against the

Non-Debtor Defendants, on an interim basis pursuant to section 362 of the Bankruptcy Code.

       3.      Nothing in this Interim Order shall prejudice the right of any creditor to seek relief

from the Automatic Stay pursuant to section 362 of the Bankruptcy Code.


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       4.      Any Bankruptcy Rule or Bankruptcy Local Rule that might otherwise delay the

effectiveness of this Interim Order is hereby waived, and the terms and conditions of this Interim

Order shall be effective and enforceable immediately upon its entry

       5.      The Debtors are authorized to take any action deemed necessary or appropriate to

implement and effectuate the terms of, and the relief granted in, this Interim Order without seeking

further order of the Court.

       6.      The Court shall retain exclusive jurisdiction over any matter arising from or related

to the implementation, interpretation, and enforcement of this Interim Order.

Dated:
Signed: November 12, 2024
       Houston, Texas

                                                       _____________________________
                                                       Alfredo R Pérez
                                                 UNITEDUnited
                                                        STATES    BANKRUPTCY
                                                              States              JUDGE
                                                                     Bankruptcy Judge




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